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7                       IN THE UNITED STATES DISTRICT COURT
8                                FOR THE DISTRICT OF ARIZONA
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11 Rebekah Massie, et al.,                          CASE NO:
                                                    CV−24−02276−PHX−ROS (DMF)
12                 Plaintiffs,
13         v.
                                                    NOTICE OF ASSIGNMENT
14 Surprise, City of, et al.,
15                 Defendants.
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19          On September 3, 2024, Plaintiff filed a Complaint which has been assigned
20 the case number listed above. This case has been assigned to District Court
21 Judge Roslyn O Silver and has been referred to Magistrate Judge
22 Deborah M Fine (PS) and the Court's Legal Staff. When any action is
23 taken in this case, you will be notified by Court order.
24          DATED this 3rd day of September, 2024.
25                                         s/Debra D. Lucas
26                                         Debra D. Lucas
                                           District Court Executive & Clerk of Court
27
28 cc: Plaintiff
